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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )
                                               )
                 v.                            )     Criminal No.: 19-10080-NMG
                                               )
 I-HSIN “JOEY” CHEN,                           )
                                               )
                                               )
                       Defendant               )


                            MOTION FOR RULE 11 HEARING

       The government respectfully moves for a hearing pursuant to Federal Rule of Criminal

Procedure 11. As grounds for this motion, the government states that the defendant, I-Hsin “Joey”

Chen, has indicated, through his counsel, that he wishes to plead guilty to Count Five of the

Fourth Superseding Indictment.

         The government understands that defendant and his counsel are located in California.

The government has not objection to a request that the hearing be conducted by video.



                                                      Respectfully submitted,

                                                      NATHANIEL R. MENDELL
                                                      Acting United States Attorney

                                                   By: /s/ Kristen A. Kearney
                                                      KRISTEN A. KEARNEY
                                                      LESLIE A. WRIGHT
                                                      IAN J. STEARNS
                                                      STEPHEN E. FRANK
                                                      Assistant United States Attorneys
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                                   CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.

       Dated: December 9, 2021                         /s/ Kristen A. Kearney
                                                       KRISTEN A. KEARNEY




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